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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRIC'I` OF MICHIGAN

In Re:
JAE L BURNHAM, Case No. l7-03285-jtg

Debtor. Chapter 7

 

Adversary Proceeding No.: 17-80176-swd
TDC TNTERNATIONAL CORP., f/k/a

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G.E. THOMPSON DEVELOPMENT )
CORP., )
)

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Plaintiff, )

)

v. )
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JAE L BURNHAM,

Defendant.

 

NOTICE AND OPPORTUNITY FOR HEARING ON MOTION FOR ENTRY OF
DEFAULT .]`UDGMENT

Plaintiff TDC International Corp. f/k/a/ G.E. Thornpson Development Corp. has filed
papers with the Court for entry of a default judgment against Defendant Jae L Burnham.

Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one).

If you do not want the Court to enter the default judgrnent, or if you want the Court to
consider your views on the entry of the default judgment, within 14 days, you or your attorney
must:

l. File with the court a written response or an answer, explaining your position, atl:

Clerk of the Court
United States Bankruptey Court
1 Division Ave N, Roorn 200
Grand Rapids, MI 49503

 

1 Response or answer must comply with Fed. R. Civ. P. S(b), (c) and (e).

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lf you mail your response to the court for filing, you must mail it early enough so
the court will receive it on or before the date stated above.

You must also mail a copy to:

O’REILLY RANCILIO P.C.
Nathan D. Petrusak (P753 59)
Attorney for Plaintiff
12900 I-Iall Road, Ste. 350
Sterling I-Ieights, Ml 48313
Telephone: (586) 726-1000

ecf@orlaw.corn

2. If a response or answer is timely filed and served, the clerk will schedule a hearing on the
Motion for Entry of Default .Tudgment and you will be served with a notice of the date, time, and
location of the hearing.

If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the joint statement and may enter an order granting that relief.

